                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA      *
                               *
      v.                       *    Case No. 1:22-cr-00146-JKB
                               *
 RON K. ELFENBEIN,             *
                               *
      Defendant.               *
                               *
                            *******
   CONSENT MOTION TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America moves this Court to exclude time under the Speedy Trial Act

for the period of April 29, 2022 through June 28, 2022. In support of the Motion, the United States

states the following:

       1.      On April 19, 2022, a grand jury returned an indictment charging Defendant Ron K.

Elfenbein with three counts of Health Care Fraud, in violation of 18 U.S.C. § 1347.

       2.      On April 29, 2022, the Defendant appeared for an initial appearance and

arraignment where he pleaded not guilty to the charges.

       3.      On May 2, 2022, the Defendant, through prior counsel, requested discovery.

       4.      The Government expects to produce discovery on May 23, 2022.

       5.      The parties and the Court held a scheduling call on May 6, 2022, and the Court

scheduled an additional conference call for June 28, 2022.

       6.      Under 18 U.S.C. § 3161(h)(7)(A), any delay resulting from a continuance of the

trial date beyond the 70 day speedy trial date is excludable if such continuance is granted by the
Court on the basis of a finding that the ends of justice are served by taking such action and outweigh

the best interest of the public and the defendant in a speedy trial. Factors the Court must find

applicable in order to make this finding are listed in § 3161(h)(7)(B) and include, but are not

limited to, the following:

               i. Whether the failure to grant such a continuance in the proceeding would
                  be likely to make a continuation of such proceeding impossible, or result
                  in a miscarriage of justice.

               ii. Whether the case is so unusual or so complex, due to the number of
                   defendants, the nature of the prosecution, or the existence of novel
                   questions of fact or law, that it is unreasonable to expect adequate
                   preparation for pretrial proceedings or for the trial itself within the time
                   limits established by this section.

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               iii. Whether the failure to grant such a continuance in a case which, taken as
                    a whole, is not so unusual or so complex as to fall within clause (ii),
                    would deny the defendant reasonable time to obtain counsel, would
                    unreasonably deny the defendant or the Government continuity of
                    counsel, or would deny counsel for the defendant or the attorney for the
                    Government the reasonable time necessary for effective preparation,
                    taking into account the exercise of due diligence.

       7.      The parties submit these factors justify excluding the proposed time and such

exclusion outweighs the interest of the public and the defendants in a speedy trial. Given the

complexity of the case based on discovery and the complexities associated with the nature of the

charges, time should be excluded under 18 U.S.C. § 3161(h)(7)(B)(ii). In addition, there is further

justification for an exclusion of time as contemplated in 18 U.S.C. § 3161(h)(7)(B)(iv) so that

Defendants’ counsel will have adequate time to review case materials, engage in plea negotiations,
and prepare for trial, should a trial be necessary. Failure to grant the request would result in a

miscarriage of justice.

       8.      In light of these considerations, holding a trial within 70 days of the defendants’

initial appearances would deny counsel for the defendants and the government the reasonable time

necessary for effective preparation. Accordingly, the interests of justice served by the requested

exclusion of time outweigh the interests of the public and the defendants in a speedy trial.

       9.      The United States communicated with defense counsel on the phone and through

email, and the Defendant consents to the relief sought in this Motion.

       For the foregoing reasons, the parties ask the Court to exclude time under the Speedy Trial

Act for the period of April 29, 2022 to June 28, 2022.


                                              Respectfully submitted,

                                              Erek L. Barron
                                              United States Attorney

                                          By: /s/
                                             Matthew P. Phelps
                                             Assistant United States Attorney

                                              D. Keith Clouser
                                              Trial Attorney, Department of Justice
